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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          HELENA DIVISION


DO NO HARM,

                 Plaintiff,
                                         Case No. 6:24-cv-00024-BMM-KLD
v.
                                         BRIEF SUPPORTING
GREG GIANFORTE, in his official          DEFENDANT’S MOTION TO
capacity as Governor of the State of     DISMISS
Montana,

                 Defendant.

                                   Introduction

      Plaintiff Do No Harm challenges appointment statute MCA § 2-15-108,

asserting that an anonymous member, a female doctor from Flathead County

identified as "Member A,” could not be appointed by the Governor to a position on

the Board of Medical Examiners on account of mandatory sex and racial diversity

that the statute purportedly imposes.
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      For his part, the Governor opposes the ideological tenets of diversity, equity,

and inclusion (DEI), as well as quotas and affirmative action. His sole priority in

making appointments is that of highly qualified individuals, without respect to

immutable traits, such as race or sex. Because MCA § 2-15-108 is not mandatory

(as Plaintiff asserts, (see Compl., Doc. 1, ¶ 32)), but is instead aspirational, it has

posed no obstacle to the Governor in satisfying that priority. This is specifically

evident with his recent appointments of women (not men or racial minorities as

Plaintiff again asserts, (see id. at ¶¶ 26-27)), to the Board of Medical Examiners.

(See Appointments, attached as Ex. A1.)

      Plaintiff’s Complaint makes clear it misunderstands both the aspirational

nature of the statute and the eligibility threshold to which Member A is subject. No

case or controversy exists to confer subject matter jurisdiction on this Court. The

Governor respectfully requests the matter be dismissed under F.R.C.P. 12(b)(1).

                                     Background

      In 1991, MCA § 2-15-108, in the form of HB 424, was adopted into law. In

its introduced form, the bill mandated gender balance and required that 10% of

board membership be comprised of racial minorities. (HB 424: Introduced,




1
  All Exhibits referenced herein are publicly available documents; they are
included for the Court’s convenience.

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attached as Ex. B.) However, legislative debate and discussion resulted in

considerable amendments, with the law ultimately reading as it still reads today:

         (1) As vacancies occur and appointments are made, all appointing
      authorities of all appointive boards, commissions, committees, and
      councils of state government shall take positive action to attain gender
      balance and proportional representation of minorities resident in
      Montana to the greatest extent possible.
         (2) Pursuant to subsection (1), the secretary of state shall publish in
      the Montana Administrative Register on a monthly basis the recent
      appointments made by the executive branch and the upcoming
      vacancies on executive boards and commissions.
         (3) The governor shall report to the legislature, as provided in 5-11-
      210, on the progress made toward achieving the goals set forth in this
      section.

Since the statute’s adoption, governors (and presumably others appointing bodies)

have made appointments and filed the requisite reports pursuant to the statute.

(See, e.g., Sample Reports, attached as Ex. C.)

      These reports evidence two understood characteristics of this statute. First,

the statute is not relevant to individual board appointments, but rather the

aggregate of all board appointments. (See id. (showing cumulative percentages

across all boards of male, female and racial minority appointments).)2 Second, the

statute is aspirational, not mandatory. (See, e.g., id. (showing female board


2
 For this reason, boards can be, and some are currently, comprised of all men or
all women, or may lack a racial minority. (See, e.g., Board of Plumbers, attached
as Ex. D.) Additionally, a vast majority of boards consist of odd-numbered
positions, which would inherently impede any balance between the number of men
and women comprising any individual board.


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appointment percentages ranging from 38 to 42 percent irrespective of the near 1:1

ratio of men to women in Montana3).)

      In contrast, the Governor is obligated to satisfy mandatory criteria for

appointments laid out in MCA § 37-1-123. And for his recent appointments to the

Board of Medical Examiners, he was obligated to comply with additional criteria,

most notably that, of the 12 members, he must appoint “five doctors of medicine,

including one with experience in emergency medicine, none of whom may be from

the same county; …” MCA § 2-15-1731. Because one of the two vacancies

required a doctor with experience in emergency medicine, he chose Dr. Magill of

Whitefish, in Flathead County, along with Dr. Juhl Petersen, of Missoula County.

(Appointments, attached as Ex. A.)

                               Standard of Review

      Federal Rule of Civil Procedure 12(b) authorizes a party to defend against a

claim for relief in a pleading through motion on the grounds that the Court lacks

subject matter jurisdiction. In reviewing a 12(b)(1) motion to dismiss on standing

grounds, “the court must accept as true all material allegations in the complaint and

must construe the allegations in the nonmovant’s favor.” Reed v. Beatty, 2024

U.S. Dist. LEXIS 54172, *7 (citing Chandler v. State Farm Mut. Auto. Ins., 598


3QuickFacts Montana; United States, United States Census Bureau,
https://www.census.gov/quickfacts/fact/table/MT,US/PST045223 (last visited May
2, 2024).

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F.3d 1115, 1121 (9th Cir. 2010)). “The court may not speculate as to the

allegations’ plausibility.” Id.

                                       Argument

     I. The Court lacks subject matter jurisdiction because this case does not
                    present a justiciable case or controversy.

        Article III of the United States Constitution limits federal court jurisdiction

to “cases and controversies.” U.S. Const. art. III, sec. 2; Allen v. Wright, 468 U.S.

737, 750 (1984). This requirement requires that plaintiffs have standing and that

claims be “ripe” for adjudication. Chandler, 598 F.3d at 1121. Plaintiffs asserting

subject matter jurisdiction bear the burden of proving its existence. Id. at

1122. “[E]ach element must be supported in the same way as any other matter on

which the plaintiff bears the burden of proof, i.e., with the manner and degree of

evidence required at the successive stages of the litigation.” Lujan v. Defenders of

Wildlife, 504 U.S. 555, 561 (1992).

A.      Do No Harm’s “Member A” lacks standing.

        For an association like Do No Harm to have standing, it must show “(1) ‘its

members would otherwise have standing to sue in their own right’; (2) ‘the

interests it seeks to protect are germane to the organization's purpose’; and (3)

‘neither the claim asserted nor the relief requested requires the participation of

individual members in the lawsuit.’” Hunt v. Washington State Apple Advertising

Commission, 432 U.S. 333, 343 (1977).


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      To in turn demonstrate a member has standing, that member “must have (1)

suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of

the defendant, and (3) that is likely to be redressed by a favorable judicial

decision." Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). This Do No Harm

cannot satisfy.

      First, even assuming MCA § 2-15-108 works the way Do No Harm asserts,

Member A’s alleged discriminatory harm is at best uncertain. Do No Harm

nowhere states that Member A has applied for appointment to the Board of

Medical Examiners. While it is true that an actual application is not required in

circumstances where doing so would be a “futile gesture,” see International

Brotherhood of Teamsters v. United States, 431 U.S. 324, 365-66 (1977), here,

where two positions were open and other mandatory criteria, such as county of

residence, inform eligibility, an application is necessary to ascertain the reason for

any ineligibility determination to in turn determine the nature of the injury. Indeed,

if Member A had applied, it appears she would have been ineligible for

consideration to the position not because she was female, but because of the

appointment of a medical colleague from the same county to the other position.

(Appointments, attached as Ex. A.) So without an actual application for the

position, Member A’s alleged injury appears to be subjective. See Lopez v.

Candaele, 630 F.3d 775, 787 (9th Cir. 2010) (“Mere allegations of a subjective



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chill are not an adequate substitute for a claim of specific present objective harm or

a threat of specific future harm.").

      Second, whatever injury—subjective or otherwise—that has occurred cannot

be “fairly traceable” to the Governor, as he appointed women to the two open

positions. Indeed, those appointments call into question the existence of an

cognizable injury in the first instance. How can discrimination based on sex be

asserted when the appointment sought was given to the very sex alleged to be

discriminated against? A decision of this Court on the lawfulness of MCA § 2-15-

108 would, on these facts, be nothing more than an impermissible advisory

opinion. Flast v. Cohen, 392 U.S. 83, 95 (1968).

      Last, a favorable ruling from the Court would not address any alleged harm.

Declaring the statute unconstitutional would change nothing for the Governor, who

views the statute as aspirational and whose sole priority is highly qualified

appointees. And an injunction would serve no purpose as he has already appointed

women to the positions in question. Presumably, it is not Do No Harm’s intent that

the Governor must substitute Member A as his appointee over and above another

woman he has already appointed.

      For these reasons, this Court lacks subject matter jurisdiction under the

standing doctrine.




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B.    This case is not ripe.

      Along with standing, ripeness is one of three justiciability requirements.

Ripeness “is drawn both from Article III limitations on judicial power and from

prudential reasons for refusing to exercise jurisdiction.” Ass’n of Irritated

Residents v. EPA, 10 F.4th 937, 944 (9th Cir. 2021) (internal quotation marks

omitted) (quoting Nat'l Park Hosp. Ass'n v. Dep't of Interior, 538 U.S. 803, 808

(2003)). “The ‘basic rationale’ of the ripeness requirement is ‘to prevent the courts,

through avoidance of premature adjudication, from entangling themselves in

abstract disagreements.’” Portman v. Cnty. of Santa Clara, 995 F.2d 898, 902 (9th

Cir. 1993) (quoting Abbott Lab’ys v. Gardner, 387 U.S. 136, 148 (1967)). An

injury must involve “an invasion of a legally protected interest that is (a) concrete

and particularized[,] and (b) actual or imminent, not conjectural or

hypothetical.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992) (internal

citations and quotations omitted).

      As shown above, this case invites the Court to entangle itself in an

abstract—and arguably nonexistent—disagreement. None of the harm alleged is

concrete, actual, or even imminent—it appears that Member A, if she had applied,

would have been ineligible from consideration on other grounds. Perhaps some

future governor will depart from the interpretation adopted and applied by past

governors and would find Member A ineligible on a sex-related basis. But until



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such time, the Court should reject Plaintiff’s invitation to engage in reviewing a

hypothetical constitutional question. This matter is not ripe.

C.    This case is moot.

      The case in controversy jurisdictional requirement also means a case cannot

be moot. “A case becomes moot—and therefore no longer a ‘Case’ or ‘Controversy’

for purposes of Article III—'when the issues presented are no longer “live” or the

parties lack a legally cognizable interest in the outcome.’” Already, LLC v. Nike,

Inc., 133 S. Ct. 721, 726 (2013) (quoting Murphy v. Hunt, 455 U.S. 478, 481 (1982)

(per curiam)). With the Governor’s appointment of two women to the Board of

Medical Examiners, nothing remains for this Court to resolve. This case is moot.

                                     Conclusion

      For the foregoing reasons, the Court lacks subject matter jurisdiction in this

case. The Governor respectfully requests this Court grant his Motion to Dismiss.

Dated: May 3, 2024

                                            Respectfully Submitted,

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                             Certificate of Compliance

      This brief complies with Local Rule 7.1(d)(2)(A). It contains

2,006 words, as verified by the word count feature of Microsoft Word, the word

processor that created it.



                                      /s/ Anita Y. Milanovich
                                      Anita Y. Milanovich




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                              Certificate of Service

    I hereby certify that a true and correct copy of the foregoing document was

served on Plaintiff via CM/ECF electronic notice.


                                     /s/ Anita Y. Milanovich
                                     Anita Y. Milanovich




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